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           Opinion: Election foul-ups
           compromise voter rights
           November 14, 2012 by AMOL SINHA AND KARINA CLAUDIO /

                                                         Last week, Long Islanders showed their resilience and resolve
                                                         by heading to the polls. Many had been displaced or lacked
                                                         power and heat, yet over a million went to vote.

                                                         Unfortunately, the Suffolk County Board of Elections was not
                                                         prepared to handle all the registered voters who came to cast
                                                         their ballots.

                                                         Certain problems were expected due to Sandy -- poll sites
                                                         changed and communication was difficult. A last-minute
                                                         executive order from Gov. Andrew M. Cuomo helped matters
                                                         by allowing displaced Long Islanders to cast affidavit ballots in
                                                         any poll site in the state, and Suffolk's elections officials did try
                                                         to inform the public through postings and the media.

           But communication was not especially effective,
           judging by the many voters that our
           organizations spoke to on Election Day who
           were confused about where to vote. Others
           went to their polling places, only to find a list of
           sites where their poll site might now be located.
           Had those voters not called hotlines -- like the
           one staffed by our organizations and the Long
           Island Civic Engagement Table, a nonpartisan
           coalition to foster civic participation -- they
           might not have been able to vote, or they might
           have cast an affidavit ballot that would not have
           counted for state and local races.

           While Sandy created a difficult situation for
           voters and the elections officials, there were
           additional failures that had nothing to do with
           the storm and that require immediate
                                                                                advertisement | advertise on newsday
           rectification.

           On the eve of Election Day, the Brennan Center
           for Justice, a public interest group, sent letters to the Suffolk Board of Elections protesting its
           rejection of valid voter registrations lawfully completed through the New York Department of
           Motor Vehicles' online registration system.

           The implications are vast. According to one elections official, 3,200 Suffolk residents registered
           this year using the online system, only to have their registrations disqualified because a software
           error made the voter signatures unreadable. While the board says it followed up with these
           voters, at least 500 people were not able to re-register and were potentially disenfranchised.

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           And as a reminder about why every vote counts, the State Assembly race between Assemb.
           Dean Murray (R-East Patchogue) and his Democratic challenger, Edward Hennessey, may be
           decided by as few as 36 votes.

           Callers to our Election Day hotline also reported several incidents in which poll workers allegedly
           requested identification from newly registered voters without legal grounds to do so. New York
           State law only requires newly registered voters to present identification when they did not
           provide an identification number on their voter registration form. We were also told of poll
           workers in Wyandanch and Brentwood asking voters standing in line to have their IDs ready for
           inspection.

           Identification requirements, which have made headlines in other states this year,
           disproportionately disenfranchise low-income, young, elderly, homeless and minority voters, who
           more frequently lack certain forms of ID. New York State has wisely refused to implement voter
           ID laws, and asking for identification frustrates this policy choice.

           At the very best, such poll site problems reflect incompetence. Whatever the explanation, Suffolk
           County must begin an investigation into Election Day problems and the Board of Elections' failure
           to honor online voter registrations. If the investigation finds that the Board of Elections has failed
           to adequately train its staff on election law, jeopardizing residents' constitutional rights, it needs a
           makeover.

           County Executive Steve Bellone's administration should demand that the board honor online
           voter registrations that meet state guidelines, and ensure that affidavit ballots submitted by these
           voters count.

           Long Islanders came out in droves to exercise their right and responsibility to vote last Tuesday,
           despite the aftermath of superstorm Sandy. Suffolk County must take concrete steps to ensure
           that their commitment to democracy is honored.

           Amol Sinha is the director of the Suffolk County chapter of the New York Civil Liberties Union.
           Karina Claudio is an organizer for Make the Road New York, a participatory immigrant
           organization.

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